Case 3:21-cv-09867-AET-TJB Document 101 Filed 01/30/19 Page 1 of 1 PageID: 1892



                               IN THE UNITED STATES DISTRICT COURT
                                FOR THE WESTERN DISTRICT OF TEXAS
                                         AUSTIN DIVISION

 DEFENSE DISTRIBUTED and SECOND                     §
 AMENDMENT FOUNDATION, INC.,                        §
                                                    §
                 Plaintiffs,                        §
                                                    §
 v.                                                 §            1:18-CV-637-RP
                                                    §
 GURBIR S. GREWAL, in his official capacity         §
 as New Jersey Attorney General,                    §
 MICHAEL FEUER, in his official capacity            §
 as Los Angeles City Attorney,                      §
 ANDREW CUOMO, in his official capacity             §
 as New York Governor,                              §
 MATTHEW DENN, in his official capacity             §
 as Attorney General of the State of Delaware,      §
 JOSH SHAPIRO, in his official capacity             §
 as Attorney General of Pennsylvania, and           §
 THOMAS WOLF, in his official capacity              §
 as Pennsylvania Governor,                          §
                                                    §
                 Defendants.                        §

                                         FINAL JUDGMENT

         On this date, the Court issued an order dismissing without prejudice all claims brought by

 Plaintiffs against all Defendants to this action. (See Dkt. 100). As nothing remains to resolve, the

 Court renders Final Judgment pursuant to Federal Rule of Civil Procedure 58.

         IT IS ORDERED that the case is CLOSED.



         SIGNED on January 30, 2019.




                                               ROBERT PITMAN
                                               UNITED STATES DISTRICT JUDGE
